




















Opinion
issued February 23, 2012.

&nbsp;



&nbsp;

In The

Court of Appeals

For The

First District of Texas

&nbsp;



&nbsp;

NO. 01-10-00105-CV

&nbsp;



&nbsp;

JEAN CLAIRE ADAMS,
Appellant

&nbsp;

V.

&nbsp;

LEWIS FOOD TOWN, INC.
D/B/A FOOD TOWN #3, Appellee

&nbsp;



&nbsp;

On Appeal from the 215th
District Court

Harris County, Texas

Trial Court Cause No. 2009-06942

&nbsp;



&nbsp;

MEMORANDUM
OPINION








Appellant, Jean Claire Adams, has failed to
timely file a brief.&nbsp; See Tex. R. App. P. 38.8(a) (failure of
appellant to file brief).&nbsp; After being
notified that this appeal was subject to dismissal, appellant did not
adequately respond.&nbsp; See Tex. R. App. P. 42.3(b) (allowing
involuntary dismissal of case).

We dismiss the appeal for want of prosecution
for failure to timely file a brief.&nbsp; 

We dismiss any pending motions as moot.

PER
CURIAM

Panel consists of Justices Jennings, Massengale, and Huddle.





